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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

THE CHEROKEE NATION, et al.,                          )
                                                      )
       Plaintiffs,                                    )
                                                      )
v.                                                    )   No. 1:20-cv-02167 (TJK)
                                                      )
UNITED STATES DEPARTMENT OF                           )
THE INTERIOR, et al.,                                 )
                                                      )
       Defendants.                                    )
                                                      )

     PLAINTIFF NATIONS’ RESPONSE TO FEDERAL DEFENDANTS’ NOTICE OF
                           RECENT AUTHORITY

       Federal Defendants’ Notice of Recent Authority, ECF No. 174 (“Not.”), wrongly implies

that in West Flagler Associates, Ltd. v. Haaland, 71 F.4th 1059 (D.C. Cir. 2023), the D.C. Circuit

held that a compact’s authorization of sports betting is solely a question of state law that cannot

establish an IGRA violation. See Not. at 1. That flaw aside, West Flagler offers no help to Federal

Defendants in this case.

       In West Flagler “brick-and-mortar casinos in Florida[] object[ed] to the Secretary’s

decision to allow the [Seminole Tribe of Florida’s] Compact to go into effect because in their view,

it impermissibly authorizes gaming outside of Indian lands, violating IGRA.” 71 F.4th at 1061.

The D.C. Circuit held that “[t]he District Court erred by reading into the Compact a legal effect it

does not (and cannot) have, namely, independently authorizing betting by patrons located outside

of the Tribe’s lands. Rather, the Compact itself authorizes only the betting that occurs on the

Tribe’s lands; in this respect it satisfied IGRA.” Id. at 1062.

       After confirming that the Secretary’s no-action approval of the compact was judicially

reviewable for consistency with IGRA, id. at 1064-65 (citing Amador Cnty. v. Salazar, 640 F.3d

373, 381 (D.C. Cir. 2011)), the court considered the merits. Plaintiffs argued that the compact


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authorized sports wagering outside of Indian land in violation of IGRA, while Defendants

contended that the compact “‘discussed’ online sports betting off of tribal lands,” but “did not

‘authorize’ it,” and that whether sports betting was authorized off of Indian lands was a question

of state law not within the scope of the Secretary’s review of Seminole’s compact. Id. at 1065.

Emphasizing that “[IGRA] regulates gaming activity on Indian lands, but ‘nowhere else,’” id. at

1061-62, 1065 (quoting Michigan v. Bay Mills Indian Cmty., 572 U.S. 782, 795 (2014)), the court

construed the Seminole’s compact only to authorize sports betting on Indian lands and to say

nothing about whether sports wagers placed elsewhere are authorized, see id. at 1066. Instead, the

compact provision addressing the locus of sports book wagers only made tribal law applicable to

resolve disputes between the parties over that gaming. The court found that provision to be both

an IGRA-permitted jurisdictional allocation and “‘directly related to the operation of’ the Tribe’s

sports book” on Indian lands. Id. (citing 25 U.S.C. § 2710(d)(3)(C)(i)-(ii), (vii)). The court also

explicitly held that “an IGRA compact cannot provide independent legal authority for gaming

activity that occurs outside of Indian lands, where that activity would otherwise violate state law,”

which was “in fact the position advanced by the Secretary.” Id. at 1068 (quoting statement by

Secretary’s counsel at oral argument that “[i]f the state statute . . . related to this action were to be

challenged in Florida state court and were to fall, the compact . . . would give no independent

authority for the Tribe” to accept wagers from outside Indian lands).

        Federal Defendants’ paltry effort to demonstrate West Flagler’s relevance to the pending

Motion to Compel falls far short of the mark. 1 And, with or without West Flagler, the motion



1
  Federal Defendants’ halfhearted justification for providing the Notice is that “the Parties cited”
the district court’s opinion in briefing the pending Motion to Compel. Not. at 1. Federal
Defendants cited West Flagler only to argue that the administrative record in this case is sufficient
because it is longer than that in West Flagler. See ECF No. 169 at 23. Plaintiff Nations
demonstrated that is irrelevant and showed with reference to the contents of the administrative


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demonstrates that the supplementation standards in District Hospital Partners, L.P. v. Burwell,

786 F.3d 46 (D.C. Cir. 2015), and Stand Up for California! v. U.S. Department of Interior, 315 F.

Supp. 3d 289 (D.D.C. 2018), are met here because the Secretary engaged in bad faith and improper

behavior by not disapproving Agreements that he knew had not been entered into by the State as

required by IGRA, see In re Treat, 2020 OK AG 8, 2020 WL 2304499 (Okla. A.G. May 5, 2020),

and which purported to authorize gaming on terms that violate IGRA.

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records produced in each case, that any length comparison is misleading. See ECF No. 172 at 23.
The D.C. Circuit in West Flagler said nothing about this issue.


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                               CERTIFICATE OF SERVICE

       I hereby certify that on July 21, 2023, I electronically filed the above and foregoing

document with the Clerk of Court via the ECF System for filing.

                                               /s/ Frank S. Holleman
                                               Frank S. Holleman




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